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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION
                                                  :
Carissa Grubel,                                   :
                                                  :
                       Plaintiff,                 :
       v.                                         : Civil Action No.: 6:14-cv-04466-GRA
                                                  :
PMAB, LLC; and DOES 1-10, inclusive,              :
                                                  :
                       Defendants.                :
                                                  :
                                                  :

                                    NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The parties anticipate filing a Stipulation of Dismissal with Prejudice pursuant to

Fed. R. Civ. P. 41(a) within 60 days.

Dated: February 24, 2015
                                               Respectfully submitted,

                                               By /s/ Brian J. Headley
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2015, a true and correct copy of the foregoing
Notice of Settlement was served electronically by the U.S. District Court for the District of South
Carolina Electronic Document Filing System (ECF) and that the document is available on the
ECF system.



                                             By     /s/ Brian J. Headley
                                                  Brian J. Headley, Esq.
